                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


BASF AG,                                     )
                                             )
                           Plaintiff,        )
                                             )
             v.                              )     No. 04 C 6969
                                             )
GREAT AMERICAN ASSURANCE                     )
COMPANY, et al.,                             )
                                             )
                           Defendants.       )


                            MEMORANDUM OPINION

SAMUEL DER-YEGHIAYAN, District Judge

      This matter is before the court on the parties’ motions for summary judgment

and on other related motions. For the reasons stated below we grant in part and deny

in part the parties’ motions.



                                   BACKGROUND

      Boots Pharmaceuticals, Inc. (“Boots”) was a pharmaceutical company that

manufactured the drug known as Synthroid. Plaintiff BASF AG (“BASF”) alleges

that International Insurance Company (“International”) issued three consecutive

insurance policies to Boots from 1989 to 1992 (“Westchester Policies”), and that

Defendant Westchester Fire Insurance Company (“Westchester”) assumed the

                                         1
obligations of the policies. BASF also alleges that Agricultural Insurance Company

(“Agricultural”), the predecessor of Defendant Great American Assurance Company

(“Great American”), issued an insurance policy to Boots for the period between

April 1, 1992, and September 30, 1993 (“Great American Policy”). BASF also

alleges that Defendant Federal Insurance Company (“Federal”) issued two insurance

policies to Boots for the period between September 30, 1993, and June 30, 1995

(“Federal Policies”). According to BASF, Boots had also purchased insurance

policies (“Primary Policies”) with separate primary insurers (“Primary Insurers”) and

the Westchester Policies, Great American Policy, and Federal Policies were

additional umbrella policies. In 1995, Boots’ parent company sold all shares in its

United States subsidiaries, including Boots, to Knoll Pharmaceutical Company

(“Knoll”) and afterwards Boots was merged into Knoll and did not have a separate

corporate existence.

      BASF alleges that Knoll, as the successor to Boots, was sued in a nationwide

class action complaint for alleged advertising campaigns and public statements that

Boots made in scientific, regulatory, and medical communities between 1989 and

1995 (“Synthroid Litigation”). The plaintiffs in the Synthroid Litigation claimed

that Boots had concealed medical information that showed that Synthroid was

equivalent to other cheaper drugs and that Synthroid had bioequivalents. The

plaintiffs in the Synthroid Litigation contended that Boots’ misrepresentations

caused them to purchase Synthroid rather than the cheaper bioequivalent drugs.


                                          2
      BASF claims that Knoll requested that the Primary Insurers defend Knoll in

the Synthroid Litigation and that the Primary Insurers refused. BASF also claims

that Knoll requested that Defendants defend Knoll in the Synthroid Litigation and

Defendants refused. BASF claims that in 1997, Knoll ultimately paid tens of

millions of dollars in defense costs and settled the matter for over $130 million.

BASF claims that Knoll filed an action in federal court against the Primary Insurers

and the federal district court ruled that the Primary Insurers breached their duty to

defend and were estopped from disputing coverage (“Primary Insurers Action”).

      According to BASF, in March 2001, BASF, which is Knoll’s parent company,

sold Knoll, but the sales agreement provided that all rights to insurance claims

relating to the Synthroid Litigation were retained by BASF. BASF brought the

instant action and includes in its complaint a claim seeking a declaratory judgment

stating that Defendants had a duty to defend and indemnify Knoll in the Synthroid

Litigation (Count I), a breach of contract claim (Count II), and a claim seeking

attorney’s fees and costs pursuant to 215 ILCS 5/155 (“Section 5/155”)(Count III).

BASF has moved for summary judgment. Each of the Defendants has also

individually moved for summary judgment. The parties have also filed a variety of

miscellaneous motions relating to the motions for summary judgment.



                                LEGAL STANDARD

      Summary judgment is appropriate when the record, viewed in the light most


                                           3
favorable to the non-moving party, reveals that there is no genuine issue as to any

material fact and the moving party is entitled to judgment as a matter of law. Fed. R.

Civ. P. 56(c). In seeking a grant of summary judgment, the moving party must

identify “those portions of ‘the pleadings, depositions, answers to interrogatories,

and admissions on file, together with the affidavits, if any,’ which it believes

demonstrate the absence of a genuine issue of material fact.” Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986) (quoting Fed. R. Civ. P. 56(c)). This initial

burden may be satisfied by presenting specific evidence on a particular issue or by

pointing out “an absence of evidence to support the non-moving party’s case.” Id. at

325. Once the movant has met this burden, the non-moving party cannot simply rest

on the allegations in the pleadings, but, “by affidavits or as otherwise provided for in

[Rule 56], must set forth specific facts showing that there is a genuine issue for

trial.” Fed. R. Civ. P. 56(e). A “genuine issue” in the context of a motion for

summary judgment is not simply a “metaphysical doubt as to the material facts.”

Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).

Rather, a genuine issue of material fact exists when "the evidence is such that a

reasonable jury could return a verdict for the nonmoving party." Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986); Insolia v. Philip Morris, Inc., 216 F.3d 596,

599 (7th Cir. 2000). The court must consider the record as a whole, in a light most

favorable to the non-moving party, and draw all reasonable inferences that favor the

non-moving party. Anderson, 477 U.S. at 255; Bay v. Cassens Transport Co., 212


                                           4
F.3d 969, 972 (7th Cir. 2000). When there are cross motions for summary

judgment, the court should “construe the evidence and all reasonable inferences in

favor of the party against whom the motion under consideration is made.” Premcor

USA, Inc. v. American Home Assurance Co., 400 F.3d 523, 526-27 (7 th Cir. 2005).



                                    DISCUSSION



I. Miscellaneous Motions by the Parties

      The parties have filed a variety of tangential motions that relate to the parties’

motions for summary judgment. BASF moved to bar and strike the reports and

testimony of certain experts proposed by Defendants. On April 23, 2006, BASF’s

motion to bar and strike was dismissed without prejudice by agreement of the

parties. Defendants have jointly moved to strike portions of BASF’s statement of

material facts. BASF has also, in turn, moved to strike Defendants’ statements of

material facts. Defendants jointly moved to strike certain portions of BASF’s reply

brief and a declaration filed in support of BASF’s motion for summary judgment,

and moved in the alternative for a sur-reply. Great American also subsequently

moved to strike portions of BASF’s reply brief contending that it included other new

arguments and Great American requested in the alternative to state its objection to

certain facts in the reply brief. We note that BASF also filed a motion to strike

statements in Great American’s reply brief that BASF deemed inaccurate and


                                           5
unfounded, which motion we denied on April 27, 2006.



      A. Defendants’ Motion to Strike BASF’s Statement of Material Facts

      Defendants move to strike certain portions of BASF’s statement of material

facts. Defendants contend that BASF’s statement of material facts contains legal

arguments and paragraphs that are not concise as is required under Local Rule 56.1.

We do not find that the paragraphs in BASF’s statement of facts were such that the

entire statement of facts should be stricken. We also note that statement of facts

presented by Defendants themselves bear many of the aspects that Defendants

complain about in their motion to strike. Therefore, we shall consider Defendants’

arguments concerning specific portions of BASF’s statement of material facts to

determine whether specific paragraphs of BASF’s statement of facts should be

stricken.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 6 (“Paragraph 6"), which states, in part, that certain rights

were retained by BASF. We agree that such a statement is a legal argument and

conclusion, and therefore we grant Defendants’ motion to strike, in part, Paragraph

6. See Malec v. Sanford, 191 F.R.D. 581, 585 (N.D. Ill. 2000)(stating in addition

that “[t]he purpose of the 56.1 statement is to identify for the Court the evidence

supporting a party's factual assertions in an organized manner: it is not intended as a

forum for factual or legal argument”).


                                           6
      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 10 (“Paragraph 10"), which states that the London Agency

became the Westchester Specialty Group. Defendants contend that Paragraph 10 is

argumentative and improperly seeks to characterize the supporting testimony. We

disagree. Paragraph 10 provides facts to which Defendants can respond, and does

not contain improper argument. Therefore, we deny Defendants’ motion to strike

Paragraph 10.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 13 (“Paragraph 13"), which addressed the duty to defend for

the umbrella policies in certain situations. We agree with Defendants that such a

statement is a legal argument, and therefore we grant Defendants’ motion to strike

Paragraph 13.

      Defendants argue that the court should strike the portion of BASF’s statement

of material fact paragraph number 15 (“Paragraph 15"), which states “See also Ex.

NN at 60:24-61:06.” Defendants contend that the citation is an argumentative

characterization of testimony. However, the citation itself does not contain any

argument or statement about testimony. In addition, to the extent that BASF

believes that the citation does not support the facts in Paragraph 15, the proper

course under Local Rule 56.1 is to indicate the disagreement in Defendants’ Local

Rule 56.1 responses rather than move to strike the citation. Therefore, we deny

Defendants’ motion to strike any portion of Paragraph 15.


                                           7
      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 22 (“Paragraph 22"), which states that Agricultural had a duty

to defend in certain situations. We agree that such a statement is a legal argument,

and therefore we grant Defendants’ motion to strike Paragraph 22.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 26 (“Paragraph 26"), which states that the policy issued by

Agricultural does not contain a provision prohibiting a transfer by operation of law.

Defendants argue that such a statement is an argumentative characterization of the

testimony. Again, if Defendants seek to challenge the supporting citation, a motion

to strike is not the proper vehicle in which to do so. We conclude that Paragraph 26

includes a proper set of facts that complies with Local Rule 56.1 which could have

been responded to by Defendants. Therefore, we deny Defendants’ motion to strike

Paragraph 26.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 36 (“Paragraph 36"), which states what the legal obligations

were for the Primary Insurers under the Primary Policies. We agree with Defendants

that such a statement is a legal argument, and therefore we grant Defendants’ motion

to strike Paragraph 36.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 37 (“Paragraph 37"), which states what the law is in regard to

an insurer’s duty to defend. We agree with Defendants that such a statement is a


                                          8
legal argument, and therefore we grant Defendants’ motion to strike Paragraph 37.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 38 (“Paragraph 38"), which states, in part, that none of

Knoll’s primary insurers stepped forward to assist Knoll in the Synthroid Litigation,

that they recognized that ambiguities existed in the Primary Policies, and that they

collectively rejected Knoll’s request for assistance. Defendants argue that Paragraph

38 contains legal conclusions. We conclude that Paragraph 38 complies with Local

Rule 56.1 and we deny Defendants’ motion to strike Paragraph 38.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 39 (“Paragraph 39"), which states that Knoll filed an action

against the Primary Insurers and states what the court’s ultimate holding was in the

action.   We conclude that Paragraph 39 complies with Local Rule 56.1 and we

deny Defendants’ motion to strike Paragraph 39.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 41 (“Paragraph 41"), which states the amount of damages

owed to BASF in light of the settlement amount and the payments by the Primary

Insurers. We conclude that Paragraph 41 complies with Local Rule 56.1.

Defendants could either have admitted or denied the figures presented by BASF and

provided support for any denial. Therefore, we deny Defendants’ motion to strike

Paragraph 41.

      Defendants argue that the court should strike BASF’s statement of material


                                          9
fact paragraph number 52 (“Paragraph 52"), which states that the settlement funds

remained deposited while the parties engaged in extensive negotiations and

discovery. We conclude that Paragraph 52 complies with Local Rule 56.1 and we

deny Defendants’ motion to strike Paragraph 52.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 53 (“Paragraph 53"), which explains how the settlement

proceedings progressed and the parties’ beliefs during the proceedings. We

conclude that Paragraph 53 complies with Local Rule 56.1 and we deny Defendants’

motion to strike Paragraph 53.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 55 (“Paragraph 55"), which indicates what the court in the

Synthroid Litigation stated. We conclude that Paragraph 55 complies with Local

Rule 56.1 and we deny Defendants’ motion to strike Paragraph 55.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 57 (“Paragraph 57"), which states that Knoll devoted

significant time and resources to defending itself in the Synthroid Litigation. We

conclude that Paragraph 57 complies with Local Rule 56.1 and we deny Defendants’

motion to strike Paragraph 57.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 58 (“Paragraph 58"), which states that Knoll’s counsel in the

Synthroid Litigation provided “specialized talents” in the defense and that its


                                          10
counsel implemented “an integrated defense strategy that was both effective and

cost-efficient.” (BSF 38). We agree with Defendants that such a statement is

argumentative, and therefore we grant Defendants’ motion to strike Paragraph 58.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 61(“Paragraph 61"), which states an approximate amount that

Knoll spent in the Synthroid Litigation defense and explains why BASF’s name

appeared on some defense invoices. We conclude that Paragraph 61 complies with

Local Rule 56.1 and we deny Defendants’ motion to strike Paragraph 61.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph numbers 63 (“Paragraph 63"), 64 (“Paragraph 64"), and 65

(“Paragraph 65"), which state what the Master Consumer Class Action Complaint

(“MCC”) indicated in the Synthroid Litigation. If Defendants disagreed with the

assertions, they could have indicated their disagreement in their Local Rule 56.1

response. We conclude that Paragraphs 63, 64, and 65 comply with Local Rule 56.1

and we deny Defendants’ motion to strike the paragraphs.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph numbers 66 (“Paragraph 66"), 67 (“Paragraph 67"), 69 (“Paragraph

69"), and 70 (“Paragraph 70"), which state what the Master Third-Party Payor Class

Action (“MTPPC”) indicated in the Synthroid Litigation. If Defendants disagreed

with the assertions, they could have indicated their disagreement in their Local Rule

56.1 response. We conclude that Paragraph 66, 67, 69, and 70 comply with Local

Rule 56.1 and we deny Defendants’ motion to strike the paragraphs.



                                         11
      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 71(“Paragraph 71"), which states what the payors indicated.

We conclude that Paragraph 71 complies with Local Rule 56.1 and we deny

Defendants’ motion to strike Paragraph 71.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 73 (“Paragraph 73"), which provides facts concerning matters

such as the mailing of certain letters and statements made by certain individuals. We

conclude that Paragraph 73 complies with Local Rule 56.1 and we deny Defendants’

motion to strike Paragraph 73.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 75 (“Paragraph 75"), which states that a notice letter was

mailed to the proper person for notifying Westchester and that the letter was

forwarded by that person. We conclude that Paragraph 75 complies with Local Rule

56.1 and we deny Defendants’ motion to strike Paragraph 75.

      Defendants argue that the court should strike BASF statement of material fact

paragraph number 77 (“Paragraph 77"), which states that Westchester Specialty

Group (“WSG”) did not request materials from a meeting held by Knoll regarding

the Synthroid Litigation or contact Knoll to learn about the meeting. We conclude

that Paragraph 77 complies with Local Rule 56.1 and we deny Defendants’ motion

to strike Paragraph 77.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 81 (“Paragraph 81"), which states what WSG included and



                                         12
did not include in its denial letter. We conclude that Paragraph 81 complies with

Local Rule 56.1 and we deny Defendants’ motion to strike Paragraph 81.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 87 (“Paragraph 87"), which states that Agricultural failed to

provide a definitive denial of coverage to Knoll. We conclude that Paragraph 87

complies with Local Rule 56.1 and we deny Defendants’ motion to strike Paragraph

87.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 89 (“Paragraph 89"), which states that to this day Agricultural

has not taken a definitive position as to coverage and still refuses to provide

coverage. We conclude that Paragraph 89 complies with Local Rule 56.1 and we

deny Defendants’ motion to strike Paragraph 89.

      Defendants argue that the court should strike BASF’s statement of material

fact paragraph number 98 (“Paragraph 98"), which refers to a policy form not at

issue in the instant action that BASF contends shows that the Defendants knew how

to exclude coverage if they desired to do so. We agree with Defendants that such a

statement does not involve material facts and is argumentative, and therefore we

grant Defendants’ motion to strike Paragraph 98.

      In summation, we grant in part and deny in part Defendants’ motion to strike

BASF’s statement of material facts and strike the following paragraphs of BASF’s

statement of material facts: 6, 13, 22, 36, 37, 58, and 98.




                                           13
      B. BASF’s Motion to Strike Defendants’ Statement of Facts

      BASF moves to strike Defendants’ statement of facts. However, BASF

provides only general arguments concerning the substance of Defendants’ statements

of material facts and BASF fails to provide arguments concerning specific

paragraphs of facts. Therefore, we deny BASF’s motion to strike Defendants’

statements of material facts.



      C. Defendants’ Motions to Strike Portions of BASF’s Reply Brief

      Defendants have filed two motions to strike portions of BASF’s reply brief in

support of BASF’s motion for summary judgment. In Defendants’ joint motion to

strike, Defendants contend that BASF introduced fifteen separate groups of facts that

were not addressed in BASF’s memorandum in support of its motion for summary

judgment. We do not agree that BASF improperly introduced new information.

BASF is entitled to respond in its reply brief to Defendants’ counter-arguments.

Also, we have reviewed all the facts pointed to by Defendants in their motion to

strike and, even if we were to strike the facts, such a ruling would have no effect on

the court’s ruling on the motions for summary judgment that follows. Therefore, we

deny Defendants’ joint motion to strike portions of BASF’s reply brief and deny

Defendants’ request for leave to file a sur-reply.

      Great American has also filed a separate motion to strike portions of BASF’s

reply brief. Great American contends that BASF included certain other new

evidence in its reply brief that it did not include in its memorandum in support of its


                                           14
motion for summary judgment. However, regardless of whether the evidence

pointed to by Great American was new, Great American has provided its objection

to the evidence to the court and has voiced its position on the evidence. We also

note that, even if we were to strike the evidence and accompanying factual

assertions, such a ruling would have no effect on the court’s ruling that follows.

Therefore, we deny Great American’s motion to strike portions of BASF’s reply

brief as moot and deny Great American’s motion for leave to file a sur-reply.



II. Choice of Law

      When a federal court has diversity subject matter jurisdiction in a case and

does not have federal question subject matter jurisdiction, the court must apply “the

choice-of-law rules of the forum state . . . .” Smurfit Newsprint Corp. v. Southeast

Paper Mfg., 368 F.3d 944, 949 (7th Cir. 2004). The parties concede that this court

solely has diversity subject matter jurisdiction and that the instant action was

brought in federal court in Illinois. Therefore, we must look to Illinois state law for

choice of law principles. Under Illinois law, in a case based upon an insurance

contract, “[a]bsent an express choice of law, insurance policy provisions are

generally ‘governed by the location of the subject matter, the place of delivery of the

contract, the domicile of the insured or of the insurer, the place of the last act to give

rise to a valid contract, the place of performance, or other place bearing a rational

relationship to the general contract.’” Lapham-Hickey Steel Corp. v. Protection

Mut. Ins. Co., 655 N.E.2d 842, 845 (Ill. 1995)(quoting in part Hofeld v. Nationwide


                                            15
Life Insurance Co., 322 N.E.2d 454 (Ill. 1975)). The parties agree that Boots’

principal place of business was Illinois, that some of the policies involved in this

action were issued in Illinois, and that the settlement agreement in the Synthroid

Litigation provided that Illinois law governed the agreement. All the parties also

concede that Illinois law applies in this action and accordingly we agree that Illinois

law governs in this matter. ( D’s R SF Par. 3, 9, 52)(B SJ 6-7)(W SJ 2)(G SJ 1)(F SJ

1).



III. Breach of Contract and Indemnity Claims Against Westchester

      BASF argues that Westchester was obligated to provide coverage to Knoll

under the Westchester Policies. BASF contends that since Westchester neither

sought a judicial determination concerning its duty to defend Knoll nor provided a

defense to Knoll, Westchester is estopped from disputing coverage under the

Westchester Policies. BASF also contends that Westchester was obligated to

provide Knoll with a defense in the Synthroid Litigation under four separate

provisions of the Westchester Policies.

      Westchester argues that coverage for Knoll was precluded under certain

exclusions and conditions of the Westchester Policies. Westchester also argues that

BASF lacks standing in the instant action and that the instant action is based upon

conduct that occurred outside the Westchester Policies’ coverage periods. Finally,

Westchester argues that the court should perform an allocation of the settlement in

the Synthroid Litigation and argues that Westchester has no duty to indemnify


                                           16
BASF.



      A. Whether Westchester is Estopped From Disputing Coverage

      BASF argues that if Westchester believed that Knoll’s defense in the

Synthroid Litigation was not covered by the Westchester Policies, then Westchester

was obligated to either seek a judicial declaration of non-coverage or defend Knoll

under a reservation of rights. BASF contends that Westchester did neither and that it

is now estopped from disputing coverage. An insurer’s duty to defend an insured is

triggered “when, based on the pleadings, there is a claim that is potentially covered

by the insurance agreement.” Waste Management, Inc. v. International Surplus

Lines Ins. Co., 579 N.E.2d 322, 333 (Ill. 1991); Employers Ins. of Wausau v. Ehlco

Liquidating Trust, 708 N.E.2d 1122, 1134 (Ill. 1999)(citing Waste Management,

Inc., 579 N.E.2d at 333)). An insurer that refuses to defend an insured in a matter

that is potentially covered by the policy “may not simply refuse to defend the

insured” and take no other action. Id. The insurer is required to either

“defend the suit under a reservation of rights or seek a declaratory judgment that

there is no coverage” and “[i]f the insurer fails to do this, and is subsequently found

to have wrongfully denied coverage, it is estopped from later raising policy defenses

to coverage.” Id. As is explained in detail below, BASF has pointed to sufficient

undisputed facts that clearly show that Westchester breached its obligation to

provide coverage to Knoll and to offer a defense for Knoll in the Synthroid

Litigation.


                                           17
      The estoppel of the insurer “arises at the moment the insurance company

wrongfully refuses to defend.” Maneikis v. St. Paul Ins. Co. of Ill., 655 F.2d 818,

822 (7 th Cir. 1981). Westchester admits pursuant to Local Rule 56.1 that it refused

to provide coverage to Knoll in denial letters sent to Knoll in October 1997 and

April 1998. (WR BSF Par. 81). Thus, Westchester had an obligation at that time to

not simply rest upon its denial, but to either provide coverage to Knoll under a

reservation of rights or to file a declaratory judgment action. Westchester has not

pointed to any evidence that contradicts the evidence presented by BASF showing

that Westchester took neither of the required actions. Therefore, the undisputed

evidence shows that Westchester is estopped from arguing at this juncture that it

owed no coverage to Knoll.



      B. Coverage Under Terms of the Westchester Policies

      BASF argues that Knoll’s defense in the Synthroid Litigation was covered

because: 1) the litigation involved a personal injury and an advertising injury, 2)

Boots’ had a “claim” prior to start of the Synthroid Litigation, 3) the Primary

Insurers improper refused to provide coverage, and 4) the Primary Policies were

exhausted. Westchester argues that coverage was excluded under certain conditions

and exclusions in the Westchester Policies.

      Under Illinois law, in order to determine whether an insurer has a duty to

defend, the “allegations in the underlying complaint” should be compared “to the

relevant provisions of the insurance policy.” LaGrange Memorial Hosp. v. St. Paul


                                          18
Ins. Co., 740 N.E.2d 21, 26-27 (Ill. App. Ct. 2000)(citing Outboard Marine Corp. v.

Liberty Mut. Ins. Co., 607 N.E.2d 1204, 1212 (Ill. 1992)). An insurer has a duty to

defend under a policy if the allegations that are included in the underlying

complaint: 1) “fall within” the provisions of the insurance policy, or 2) are

“potentially within, the policy's coverage . . . .” Outboard Marine Corp., 607

N.E.2d at 1212(stating that a “[r]efusal to defend is unjustifiable unless it is clear

from the face of the underlying complaint that the facts alleged do not fall potentially

within the policy's coverage”); Central Mut. Ins. Co. v. Useong Intern., Ltd., 394

F.Supp.2d 1043, 1048 (N.D. Ill. 2005)(stating that in determining whether an insured

breached its duty to defend, the court should inquire "whether that conduct as

alleged in the complaint is at least arguably within one or more of the categories of

wrongdoing that the policy covers").

      The construction of the provisions of an insurance policy is a question of law.

Sokol and Co. v. Atlantic Mut. Ins. Co., 430 F.3d 417, 420 (7th Cir. 2005). When

construing the provisions of a policy, a court must consider: 1) “the intent of the

parties to the contract,” 2) “construe the policy as a whole,” 3) and “with due regard

to the risk undertaken, the subject matter that is insured and the purposes of the

entire contract.” Outboard Marine Corp., 607 N.E.2d at 1212; Sokol and Co., 430

F.3d at 420; Geschke v. Air Force Ass'n, 425 F.3d 337, 342 (7th Cir. 2005)(stating

that “[i]n Illinois, an insurance policy is treated as any other contract and is subject

to the same rules of construction”). Words in the policy that are unambiguous

should be given their “plain, ordinary, and popular meaning.” Outboard Marine


                                            19
Corp., 607 N.E.2d at 1212; Sokol and Co., 430 F.3d at 420; Geschke, 425 F.3d at

342. If a word in the policy could be reasonably afforded “more than one reasonable

interpretation,” the word is ambiguous and should “be construed in favor of the

insured and against the insurer who drafted the policy.” Outboard Marine Corp., 607

N.E.2d at 1212; Sokol and Co., 430 F.3d at 420; Geschke, 425 F.3d at 342 (quoting

Allstate Ins. Co. v. Smiley, 659 N.E.2d 1345, 1350 (Ill. 1995) for proposition that “a

court should not search for an ambiguity where there is none” and that “[t]he

determination of whether the terms of an insurance policy are ambiguous is made by

reference to a reasonable person standard,” which means “what a reasonable person

in the position of the insured would understand [the terms] to mean”); Premcor USA,

Inc., 400 F.3d at 526(quoting Transamerica Ins. Co. v. South, 975 F.2d 321, 327 (7th

Cir. 1992) for the proposition that “[a]ll the provisions of the insurance contract,

rather than an isolated part, should be read together to interpret it and to determine

whether an ambiguity exists”).



      1. Personal Injury and Advertising Injury

      BASF argues that the Synthroid Litigation was covered because it involved a

“personal injury” and an “advertising injury.” Westchester admits pursuant to Local

Rule 56.1 that the “Coverage A” sections of Westchester Policies issued from 1989

to 1990 and 1990 to 1991 (“1989-1990 and 1990-1991 Westchester Policies”),

provide coverage for damages arising out of an “occurrence,” which is defined to

include an “offense that results in [a] ‘Personal Injury’ and an act that results in an


                                           20
“Advertising Injury.” ( WR BSF Par. 16). Westchester also admits that all of the

Westchester Policies defined the term “Personal Injury” to include an “injury, other

than ‘bodily injury,’ arising out of . . . (4) Oral or written publication of material that

slanders or libels a person or organization or disparages a person’s or organization’s

goods, products or services . . . .” ( WR BSF Par. 17). In addition, Westchester

admits that the 1989-1990 and 1990-1991 Westchester Policies defined the term

“Advertising Injury” to include an “injury arising out of . . . (1) Oral or written

publication of material that slanders or libels a person or organization or disparages a

person’s or organization’s goods, products or services . . . .” ( WR BSF Par. 18).

Finally, Westchester admits that the Westchester Policy issued from 1991 to 1992

(“1991-1992 Westchester Policy”) stated that the term “Advertising Injury” “means

injury that arises out of your advertising activities as a result of (1) oral or written

publication of material that slanders or libels a person or organization or disparages a

person’s or organization’s goods, products or services . . . .” ( WR BSF Par. 18).

       Westchester argues that the claims at issue in the Synthroid Litigation did not

involve a “personal injury” or an “advertising injury” because the plaintiffs in the

Synthroid Litigation did not bring libel or defamation claims. The plaintiffs in the

Synthroid Litigation brought claims against Knoll alleging that Knoll’s and Boots’

misrepresentations concerning Synthroid and the obstruction of the publication of a

study compiled by Dr. Betty Dong (“Dong”) violated the “Sherman Antitrust Act, 15

U.S.C. § 2 et seq., the Federal Racketeer Influenced and Corrupt Organizations Act,

18 U.S.C. § 1961 et seq., . . . [violated] various state consumer protection statutes


                                            21
including the Illinois Consumer Fraud and Deceptive Business Practices Act, 815

ILCS 505/1 et seq., . . . and the common law.” In re Synthroid Marketing Litigation,

188 F.R.D. 295, 298 (N.D. Ill. 1999). The Primary Insurance Policies contained

coverage for a “personal injury” and “advertising injury” similar to the policies at

issue in the instant action. The court in the Primary Insurer Action concluded that

the Synthroid Litigation did fall within the coverage provided for a “personal injury”

and “advertising injury.” Knoll Pharm. Co. v. Automobile Ins. Co. of Hartford, 152

F.Supp.2d 1026, 1034-39 (N.D. Ill. 2001). We agree with the reasoning provided by

the court in the Primary Insurers Action. Although Westchester argues that the

plaintiffs in the Synthroid Litigation did not bring defamation or libel claims, similar

to the Primary Policies, none of the Westchester Policies limit coverage to a

particular cause of action such as libel or defamation. Id. The Westchester Policies

instead cover certain types of conduct that “slanders or libels a person or

organization or disparages a person’s or organization’s goods, products or services . .

. .” ( WR BSF Par. 17). While the words “slanders” and “libels” do contain the

words “slander” and libel,” which are specific causes of action, to the extent that the

words “slanders” and “libels” are ambiguous, the provisions must be interpreted in

favor of BASF as the successor to the insured. Outboard Marine Corp., 607 N.E.2d

at 1212; Employers Ins. of Wausau v. Ehlco Liquidating Trust, 708 N.E.2d 1122,

1130 (Ill. 1999)(stating that if a provision of an insurance policy is ambiguous, a

“court must construe the policy in favor of the insured and against the insurer that

drafted the policy”). Under such a construction, it is only reasonable to conclude, as


                                           22
the court did in the Primary Insurer’s action, that the Westchester Policies providing

coverage for a “personal injury” or “advertising injury” provided coverage that

would extend to the provision of a defense in suits where injuries to plaintiffs “may

have [had] their origin in slander, libel, or disparagement . . . .” Knoll Pharm. Co.,

152 F.Supp.2d at 1035. There is also no provision in the Westchester Policies that

limits coverage to actions in which the insured itself directly slandered, libeled, or

disparaged the plaintiffs in the action. If Westchester desired to limit coverage to a

defense in cases when the plaintiffs themselves were harmed by the libelous,

defamatory or disparaging statements of Boots or its successors and plaintiffs were

specifically bringing libel or defamation claims, then Westchester could have

provided such specificity in the Westchester Policies. However, no such provisions

were included in the Westchester Policies.

      Westchester also argues that certain language in the Westchester Policies

indicates that the insured must have caused the harm to the plaintiffs through

disparaging statements and that this causation aspect of the Westchester Policies was

not present in the Synthroid Litigation. Westchester argues that, similar to the

Primary Policies, under the Westchester Policies, the “insured becomes legally

obligated to pay damages because of the ‘personal injury’ or ‘advertising injury’ to

which this coverage part applies.” ( W Ans. BSJ 5). However, Westchester

mischaracterizes the language of the Westchester Policies. The policies do not

exclusively provide coverage in actions in which the plaintiffs’ harm is caused by an

improper statement. Westchester omits key language in the 1989-1990 and 1990-


                                           23
1991 Westchester Policies indicating that the policies cover an “advertising injury”

and “personal injury” “arising out of” such improper statements. (WR BSF Par. 17-

18). Thus, the language in the policies indicates that the key inquiry is whether an

action grows from such improper statements. Westchester is improperly seeking to

impose a causation requirement between the insured’s conduct and the improper

statements that is not included in the terms of the Westchester Policies.

      Westchester admits that the Synthroid Litigation grew out of various

disparaging, defamatory, and libelous statements. Westchester admits that on April

25, 1996, the Wall Street Journal published a front page article, which stated that

Boots had refused to allow Dong to publish a study (“Dong Study”) that showed that

“Synthroid and three cheaper drugs were essentially interchangeable.” ( WR BSF

Par. 42). Such a statement was a negative statement about Boots and thus about its

successor Knoll. Such a statement was also a negative statement about the Synthroid

product because it gave the impression that the Synthroid product was not superior

to other cheaper products. Westchester admits that shortly after the article was

published, various lawsuits were brought against Knoll that related to the refusal to

publish the Dong Study. ( WR BSF Par. 43, 49). Westchester also admits that a

significant number “of new lawsuits followed the publication of the Dong study” and

that there were soon numerous class action complaints pending in seventeen

different federal courts. ( WR BSF Par. 49). In addition, the class action complaint

in the Synthroid Litigation alleged that public statements and advertising by Boots

inaccurately indicated that Synthroid was more effective than other drugs and that


                                          24
Synthroid had no bioequivalents. (B Ex. Z Par. 2). The plaintiffs in the Synthroid

Litigation also alleged that in 1990, 1991, 1993, and 1995, Boots unjustly criticized

the Dong Study and attempted to discredit the Dong Study. (WR BSF Par. 65)(B

Ex. Z Par. 3). Such allegations involve alleged disparaging statements by Boots

against Dong and her study. Westchester also admits pursuant to Local Rule 56.1

that in April 1997 an editorial was published in the Journal of the American Medical

Association which discussed Knoll’s unjustifiable disparagement of the Dong Study.

( WR BSF Par. 47). Such allegations were criticisms of Knoll’s treatment of the

Dong Study and involved both the disparaging statements made about the Dong

Study by Knoll and statements that disparaged Knoll for criticizing the Dong Study.

      Westchester also admits that a MCC and the MTPPC filed in the Synthroid

Litigation also indicate that the Synthroid Litigation grew out of defamatory,

libelous, or disparaging statements. For example, Westchester admits pursuant to

Local Rule 56.1 that the MCC listed the factual bases for the source of damages and

mentioned topics such as whether “Defendants have disparage[d] the goods,

services, and/or business of the makers of” the bioequivalent drugs. ( WR BSF Par.

64). Westchester also admits that the MCC, in discussing the bases for damages,

referred to letters sent by Boots to Dong “complaining about the study’s procedures

and methods” and Boots’ development of objections to the “study’s procedures and

methods.” ( WR BSF Par. 65). Westchester also admits that the MTPPC, in

discussing the bases for damages, mentioned that Boots inaccurately stated in

advertising that there was no bioequivalent to Synthroid, engaged in “false


                                          25
advertising,” and hired researchers and consultants to provide “Boots with the

criticisms it sought” against the Dong Study. ( WR BSF Par. 66).

       Westchester argues that BASF’s interpretation of the Westchester Policies is

too broad because, under the interpretation, “damages with ‘any connection at all’ to

defamation or disparagement are covered.” (W Ans. BSJ 6). However, Westchester

does not accurately characterize BASF’s interpretation and no such extreme

interpretation is required to conclude that the Synthroid Litigation grew out of

“personal injury” or “advertising injury.” In the Synthroid Litigation, the

disparaging, defamatory, and libelous statements were not an incidental piece of

evidence. Rather, the undisputed evidence presented by BASF shows that the

Synthroid Litigation itself grew out of those statements.

      Westchester also argues that there “was no defamation or disparagement (of

anyone).” ( WAns. BSJ 7). However, as is explained above, Westchester admits,

for example, to the contents of the Wall Street Journal article. The statement in the

article that indicated that Boots was attempting to conceal medical information was

unquestionably a statement that disparaged the reputation of Boots. Likewise, the

statement that indicated that there was evidence that Synthroid had cheaper

equivalents unquestionably reflected negatively on Synthroid because Synthroid was

selling at a higher price than the other referenced equivalents. Westchester also

admits that the plaintiffs in the Synthroid Litigation attempted to unjustly criticize

and discredit the Dong Study. Such statements also disparaged the Dong Study and

inevitably disparaged Dong’s reputation as the author of that study.


                                           26
      Westchester also argues that for a “personal injury” or “advertising injury”to

occur, the improper statements must be “legally defamatory.” ( W Ans. BSJ 7).

However, there is no provision in the Westchester Policies that limits coverage to

statements that are legally sufficient to support a defamation claim in court. Thus, it

is clear, based on the undisputed evidence that the Synthroid Litigation involved a

“personal injury” and an “advertising injury.” (WR BSF 17-18). Accordingly,

based on the undisputed evidence, no reasonable trier of fact could conclude other

than that Westchester owed Knoll a duty to defend Knoll in the Synthroid Litigation

because the litigation arose out of what could reasonably be deemed disparaging,

defamatory, and libelous statements.



      2. Failure of Primary Insurers to Provide Coverage

      BASF argues that Westchester was required to defend Knoll in the Synthroid

Litigation because the Primary Insurers unlawfully refused to provide a defense to

Knoll. Westchester admits pursuant to Local Rule 56.1 that the 1989-1990 and

1990-1991 Westchester Policies provided coverage where a suit against the insured

was “not covered as warranted” by the Primary Policies. ( WR BSF Par. 14). Thus,

Westchester promised Boots and Knoll that Westchester would step in and defend

the insured if the Primary Insurers did not do so. Westchester admits pursuant to

Local Rule 56.1 that when the Synthroid Litigation began, Knoll asked the Primary

Insurers to provide a defense for Knoll and that the Primary Insurers universally

refused. ( WR BSF Par. 38). Westchester also admits that in July 2001, the court in


                                          27
the Primary Insurers Action held that the Primary Insurers had a duty to defend

Knoll in the Synthroid Litigation and had wrongfully refused coverage. ( WR BSF

Par. 39).



       a. Coverage A and Coverage B Sections

       Westchester argues that the 1989-1990 and 1990-1991 Westchester Policies

provided coverage where the Primary Insurers failed to provide coverage as

warranted only in the Coverage B Section of the policies (“Coverage B Section”) .

Westchester argues that the Coverage A Section (“Coverage A Section”) of the

policies is applicable instead. ( W Ans. BSJ 2). Westchester argues that the

Coverage B Section does not apply in the instant action because that section only

applies when the Primary Insurance Policies do not apply. Westchester argues that

since the court in Primary Insurer Action found that the Primary Insurance Policies

owed coverage to Knoll, the Coverage B Section does not apply in the instant action.

The Coverage B Section provides that it applies to coverage “with respect to any

loss covered by the terms and conditions of [the] policy, but not covered as

warranted by the underlying policies . . . .” (BSJ Ex. H). Westchester is correct that

in the Primary Insurer Action, the court found that the Primary Insurers should have

provided Knoll a defense. However, such a fact merely shows that the Coverage B

Section is applicable because the court’s finding shows that the Primary Insurers

wrongfully denied coverage to Knoll and that Knoll suffered losses that were “not

covered as warranted by the underlying policies.” (BSJ Ex. H). Thus, BASF


                                          28
correctly argues that the Coverage B Section is applicable in this action. BASF also

correctly points out that the duty to defend provision in the 1989-1990 and 1990-

1991 Westchester Policies is separate from the coverage provisions and thus, for the

purposes of the duty to defend, it applies to both the Coverage A Section and the

Coverage B Section. BASF also correctly points out that there is nothing in the

Westchester Policies that would prevent a finding that both the Coverage A Section

and the Coverage B Section were applicable to the Synthroid Litigation. Thus under

the 1989-1990 and 1990-1991 Westchester Policies Westchester, was obligated

under the Coverage B Section to provide coverage to Knoll in the Synthroid

Litigation.



      b. Notice Given to Westchester

      Westchester also argues that even if the Coverage B Section is applicable in

the instant action, Westchester owed no duty to defend Knoll because Knoll never

advised Westchester that the Primary Insurers refused to defend Knoll in the

Synthroid Litigation.

      In the instant action, Westchester admits pursuant to Local Rule 56.1 that in

June 1997, Knoll sent a letter (“Letter”) to Thomas Deberry (“Deberry”) of Crum &

Forester Insurance Claims (“Crum”) to invite International to a meeting to discuss

the Synthroid Litigation. ( WR BSF Par. 75). Westchester also admits that Crum

owned International, which issued the Westchester Policies. (WR BSF Par. 10-11).




                                         29
      BASF also contends that Deberry forwarded the Letter to WSG, which

handled claims for International, and that Nancy McCollum (“McCollum”), who

works for WSG, was aware of the Synthroid Litigation by June 1997. (BSF Par. 75).

Westchester denies those facts and claims that BASF’s contention is not supported

by evidence. Westchester argues that Deberry was not the correct person to notify

and that he did not forward the notice of the meeting to McCollum. However,

McCollum herself testified that she became aware of the Synthroid Litigation when

she received the notice from Crum in June 1997. (Mcm. Dep. 13-14). Also,

although Westchester in its response to BASF’s statement of material facts disputes

that it received the notice on June 24, 1997, Westchester in its memorandum in

support of its motion for summary judgment admits that Westchester received notice

“on or about June 24 or June 25, 1997.” (WSJ 3). In addition, although Westchester

now complains that it was not given a timely notice of the Synthroid Litigation and

the positions of the Primary Insurers, Westchester admits that the denial of coverage

letter that was sent to Knoll by Westchester does not contain any mention of the

untimely notice as a basis for the denial. (WR BSF Par. 81). Thus, based on the

above, BASF is not estopped from asserting that the Primary Insurers failed to

provide a defense for Knoll in the Synthroid Litigation. ( WR BSF Par. 38).

Therefore, based on the above, we conclude that the undisputed evidence clearly

shows that Westchester was obligated to defend Knoll in the Synthroid Litigation

because the Primary Insurers failed to defend Knoll as warranted in the Primary

Policies.


                                         30
      3. Coverage of “Claim”

      BASF argues that since the 1991-1992 Westchester Policy stated that it

covered both a “claim” or “suit,” the Westchester’s coverage obligations were

triggered even before a suit had begun in the Synthroid Litigation. Westchester

admits pursuant to Local Rule 56.1 that the 1991-1992 Westchester Policy contained

the following language:

      15. The 1991-1992 International Policy has the duty to defend both claims and
      suits where the underlying Primary policies do not apply or are exhausted:

      We shall have the right and duty to defend any ‘Claim’ or ‘Suit’ seeking
      damages covered by the terms and conditions of this policy when:
      (a) the applicable limits of insurance of the underlying insurance policies set
      forth in schedule A and to be maintained by you in accordance with condition
      M of this policy (‘the ‘Underlying Insurance’), plus the applicable limits of
      other insurance have been exhausted by payments; or
      (b) Damages are sought for ‘Bodily Injury,’ ‘Property Damage,’ ‘Personal
      Injury,’ or ‘Advertising Injury’ which are not covered by ‘Underlying
      Insurance’ or other insurance.

( WR BSF Par. 15)(emphasis added). Thus, Westchester was obligated under the

1991-1992 Westchester Policy to offer assistance to Knoll prior to the beginning of

the Synthroid Litigation, when the prospective plaintiffs were seeking payment

because the plaintiffs would have had claims prior to the filing of suits. Therefore,

Westchester also owed coverage under the above section of the 1991-1992

Westchester Policy.



      4. Exhaustion of Primary Policies

                                          31
      BASF argues that the Westchester Policies provided that Westchester would

defend Knoll when the Primary Policies were exhausted. ( WR BSF Par. 13).

Westchester admits pursuant to Local Rule 56.1 that the 1989-1990 and 1990-1991

Westchester Policies provided that coverage “applies only where” the policies are

“in excess of the underlying policies, and other insurance does not exist.” ( WR BSF

Par. 13). Westchester also admits that the 1989-1990 and 1990-1991 Westchester

Policies provided that Westchester would defend the insured in any suit covered by

the policies seeking damages and that if the primary insurance was exhausted, that

Westchester would “take charge of the settlement or defense of any claim or

proceeding” against the insured “from the same occurrence.” ( WR BSF Par. 13).

Finally, Westchester admits that the 1991-1992 Westchester Policy provides that

Westchester had “the right and duty to defend . . . when . . . the applicable limits of

other insurance have been exhausted by payments . . . .” ( WR BSF Par. 15).

       Westchester argues that the Primary Policies were not exhausted until the

Synthroid Litigation was settled and that, therefore, Westchester’s duty to defend

would have been triggered at the earliest when the Synthroid Litigation was settled.

However, Westchester admits pursuant to Local Rule 56.1 that Knoll paid out

amounts above the Primary Policy limits under the preliminary approved settlement

and thus Westchester’s duty to defend was triggered, at the latest, at that point.

There is no requirement included in the Westchester Policies that the Primary

Insurers pay out the funds to trigger the exhaustion requirement and, to the extent

that the above provisions are ambiguous, they must be interpreted in favor of BASF.


                                           32
Outboard Marine Corp., 607 N.E.2d at 1212; Employers Ins. of Wausau v. Ehlco

Liquidating Trust, 708 N.E.2d 1122, 1130 (Ill. 1999)(stating that if a provision of an

insurance policy is ambiguous, a “court must construe the policy in favor of the

insured and against the insurer that drafted the policy”).

      The instant action is similar to Elas v. State Farm Mut. Auto. Ins. Co., 352

N.E.2d 60 (Ill. App. Ct. 1976). In Elas, the defendant insurer was an excess insurer

that refused to defend an insured. Id. at 62-5. The insured paid out amounts in a

preliminary settlement and ultimately had a judgment entered that exceeded the

limits of the primary insurance policies. Id. The court in Elas concluded that once it

was clear that the primary insurance limits were reached, “any further recovery

would be sought against [the defendant insurer] as the excess insurer.” Id. at 63.

Similarly, in the instant action, when the payments by Knoll exceeded the Primary

Policy limits, Westchester, as the excess insurer, was obligated to provide coverage.

      Westchester also argues vaguely that BASF has not provided evidence

showing that the Primary Policies were exhausted. We disagree. BASF has pointed

to sufficient evidence that the Primary Policy amounts were exhausted and

Westchester has not pointed to any evidence that would indicate otherwise. (BSF

Par. 36, 56). Therefore, we conclude that Westchester owed Knoll a duty to defend

Knoll under the above provisions of the Westchester Policies relating to the

exhaustion of the Primary Policies.

      We also reiterate that in finding that there is sufficient evidence that shows

that Westchester owed coverage under the above four provisions of the Westchester


                                           33
Policies, BASF is not required to show that the Synthroid Litigation was in fact

covered by the Westchester Policies to show a breach of a duty to defend.

Westchester owed Knoll a duty to defend even if there potentially was coverage and

Westchester only could refuse coverage if it was “clear from the face of the

underlying complaint that the facts alleged” in the Synthroid Litigation did “not fall

potentially within the policy's coverage.” Outboard Marine Corp., 607 N.E.2d at

1212. The undisputed evidence in this case shows that a reasonable trier of fact

could not conclude other than that BASF has clearly met such a burden in showing

that Westchester breached its duty to defend Knoll.



      5. Exclusion O

      Westchester points to Exclusion O of the 1989-1990 and 1990-1991

Westchester Policies (“Exclusion O”), which stated that the policies would not apply

to “[a]ny defense, investigation, settlement, or legal expense covered by the

underlying insurance.” ( W SJ 3). Westchester argues that since the court in the

Primary Insurers Action found that the Primary Insurers were liable to BASF and

were ordered to pay some of the costs of the Synthroid Litigation, Exclusion O bars

coverage under 1989-1990 and 1990-1991 Westchester Policies. However, as is

indicated above, BASF has pointed to sufficient evidence that shows that

Westchester breached its duty to defend Knoll. If an insurer is found to have

breached its duty to defend an insured, the insurer is estopped from arguing that the

coverage is precluded under policy exclusions. Employers Ins. of Wausau, 708


                                          34
N.E.2d at 1135. If an insurer breaches its duty to defend an insured “the estoppel

doctrine has broad application and operates to bar the insurer from raising policy

defenses to coverage, even those defenses that may have been successful had the

insurer not breached its duty to defend.” Id.; see also Elas, 352 N.E.2d at 62(stating

that “[w]hen an insurer unjustifiably refuses to afford a defense for the insured, it is

later estopped from raising the defense of non-coverage in a suit against it to enforce

a judgment against the insured”). Thus, since there is sufficient evidence that shows

that Westchester breached its duty to defend Knoll, Westchester is estopped from

arguing that coverage is excluded under Exclusion O.




      6. Late Notice - Condition E

      Westchester argues that Condition E of the 1989-1990 and 1990-1991

Westchester Policies (“Condition E”) required Boots to notify Westchester “as soon

as practicable” of any “occurrence” that might result in a claim under the policies.

Westchester claims that Knoll delayed giving notice to Westchester of potential

claims that would fall within the policies’ coverage and that Knoll did not provide

such notice until June of 1997. As is indicated above, Westchester is estopped from

arguing that coverage is precluded under an exclusion and thus Westchester cannot

argue that Condition E precludes coverage. Employers Ins. of Wausau, 708 N.E.2d

at 1135. Also, as is indicated above, the undisputed facts show that Knoll did

attempt to discuss the Synthroid Litigation with its insurers in meetings and



                                           35
Westchester has not pointed to evidence that would enable a reasonable trier of fact

to conclude that Knoll waited for an unreasonable amount of time to notify

Westchester. In addition, as is mentioned above, although Westchester now

contends that it was not given a timely notice of the Synthroid Litigation and the

positions of the Primary Insurers, Westchester admits that its letters denying

coverage did not list the alleged untimely notice as a basis for the denial. (WR BSF

81). Therefore, no reasonable trier of fact could find that coverage is barred under

the late notice provision of Condition E.




      7. Assumption of Liability Without Consent - Condition E

      Westchester argues that Condition E of each of the Westchester Policies

provided that the insured would not, except at its own cost, “voluntarily make a

payment, assume an obligation, or incur any expense . . . .” ( W SJ 3). Westchester

argues that Knoll voluntarily chose to make a settlement payment in the Synthroid

Litigation and, thus, under Condition E, Westchester has no obligation to

compensate BASF for the amount paid by Knoll in the settlement. However, as is

indicated above, Westchester is estopped from arguing that coverage is precluded

under an exclusion and thus Westchester cannot argue that Condition E precludes

coverage. Employers Ins. of Wausau, 708 N.E.2d at 1135. In addition, once an

insurer wrongfully refuses to defend an insured, the insured is permitted “to

negotiate a reasonable settlement.” Maneikis v. St. Paul Ins. Co. of Illinois, 655 F.2d



                                            36
818, 827 (7 th Cir. 1981). In the instant action, Knoll did not simply make a

voluntary payment in the settlement without consulting Westchester and thereby

depriving Westchester an opportunity to decide whether such monies should be

spent. The undisputed facts in the instant action show that Westchester

unequivocally refused to defend Knoll and that after Westchester breached its duty

to defend Knoll, Knoll, while putting on its own defense, paid out monies in the

settlement. There is no indication that the settlement was unreasonable and

Westchester is estopped from arguing that the voluntary payment provision of

Condition E precludes coverage.




      8. Prior Publication Exclusion

      Westchester argues that there is no coverage under the prior publication

exclusion in the 1989-1990 and 1990-1991 Westchester Policies. Westchester

asserts that the policies included a section (“Prior Publication Exclusion”) that

provided that coverage will not be provided for a “personal injury” or an

“advertising injury” that arose “out of oral or written publication of material whose

first publication took place before the beginning of the policy period.” (WSJ 6).

Westchester argues that the alleged defamatory and disparaging statements were first

published on April 1, 1989, which was before the formulation of the Westchester

Policies. However, as is indicated above, Westchester is estopped from arguing that

coverage is precluded under an exclusion and thus Westchester cannot argue that the



                                          37
prior publication exclusion precludes coverage. Employers Ins. of Wausau, 708

N.E.2d at 1135. Thus, Westchester is estopped from asserting that there was no

coverage under the Prior Publication Exclusion.




      C. Validity of Assignment

      Westchester argues that BASF lacks standing because the assignment of the

rights from Knoll to BASF to bring the instant claims was invalid. Westchester

contends that BASF purportedly received the assignment from Abbott Laboratories

(“Abbott”), the parent of Knoll, but Abbott had no authority to assign the rights held

by Knoll. However, Westchester has previously argued this point in Defendants’

motion to dismiss. On September 7, 2005, we denied Defendants’ motion to dismiss

and ruled that BASF has sufficiently established that the assignment was proper and

that BASF has standing. Westchester again argues that BASF received the

assignment from Abbott rather than Knoll, and that the assignment was thus

ineffective. However, this is contrary to Westchester’s own statements included in

its reply brief in support of Defendants’ motion to dismiss, in which Westchester

conceded that the assignment was proper. Westchester adopted the statements

included in Federal’s reply brief, which included the statement that “the Insurers

have not disputed that BASF had the right to pursue all insurance claims for policies

in excess of those policies disputed in Case No. 00 C 67 33.” (W Dis. Reply 4).

Westchester thus conceded in its reply brief to the motion to dismiss that the



                                          38
assignment to BASF was effective and Westchester’s only argument in its reply brief

regarding the assignment related to the scope of the rights that were assigned to

BASF.

      The standing issue has already been addressed by this court and Westchester

was already given an opportunity to brief the issues concerning standing and the

assignment. Westchester has not shown a reason why its current arguments could

not have been presented to the court prior to the court’s ruling on standing and thus,

Westchester is improperly seeking to have the court reconsider its prior ruling. See

Caisse Nationale de Credit Agricole v. CBI Indus., 90 F.3d 1264, 1269-70 (7 th Cir.

1996)(stating that a motion for reconsideration may be brought “to correct manifest

errors of law or fact or to present newly discovered evidence” and that such motions

cannot be used as a “vehicle to introduce new evidence that could have been”

produced earlier). Also, Westchester is now improperly taking positions contrary to

those taken in prior briefings before this court regarding the validity of the

assignment, which violates the “mend the hold” doctrine. See Harbor Ins. Co. v.

Continental Bank Corp., 922 F.2d 357, 364 (7th Cir. 1990)(stating that the “mend the

hold” doctrine “bars a contract party from changing his position in

litigation”)(emphasis omitted). We also note that, regardless, none of the arguments

presented by Westchester in its motion for summary judgment show that the

assignment was invalid. Therefore, we deny Westchester’s motion for summary

judgment to the extent that it is based upon the alleged invalidity of the assignment

from Knoll to BASF.

                                           39
      D. Offenses Outside Policy Periods

      Westchester argues that, at the very least, it cannot be required to provide

coverage relating to conduct that occurred before or after the policy period for the

Westchester Policies. Westchester argues that there was publication of materials in

April 1989, before the start of the Westchester Policies’ coverage periods, and

conduct that occurred in 1995, after the conclusion of the policy periods for the

Westchester Policies. BASF contends that the claims do fall within the policy

periods. The claims in the Synthroid Litigation arose out of statements involving the

criticisms of the Dong study that began in 1990, which were within the policy period

and BASF has pointed to various other disparaging statements that were a part of the

bases of the Synthroid Litigation and which occurred within the policy coverage

periods. ( WR BSF Par. 65). In addition, Westchester is estopped from arguing that

the incidents that were the bases for the Synthroid Litigation occurred outside the

policy period since Westchester breached its duty to defend Knoll. Employers Ins.

of Wausau, 708 N.E.2d at 1135. Thus, Westchester cannot obtain summary

judgment on the basis that the alleged disparaging statements occurred outside the

policy period. To the extent that Westchester argues that the damages it owes to

BASF should be limited because certain conduct occurred outside the policy periods,

such an argument pertains to damages and is premature at this juncture.




                                          40
      E. Allocation

      Westchester argues that if it did have a duty to defend Knoll, it still should not

be required to pay for the entire settlement. Westchester contends that the settlement

failed to differentiate between insured and uninsured parties and that the court must

conduct an allocation of the settlement proceeds. Westchester’s request for an

allocation is premature because it relates to the damages portion of these

proceedings, rather than to Westchester’s liability to BASF. The motions for

summary judgment currently before the court address the issue of whether

Westchester is liable to BASF. If the court grants BASF’s motion for summary

judgment and denies Westchester’s motion for summary judgment, these

proceedings will need to proceed to the damages phase, at which point the court will

address the issue of damages. Therefore, Westchester’s request for an allocation is

premature at this juncture.




      F. Duty to Indemnify

      Westchester argues that BASF has not pointed to sufficient evidence that

shows that Westchester’s duty to indemnify Knoll was triggered. To determine

whether an insured had a duty to indemnify an insured, a court should not, as with a

duty to defend, examine whether the factual allegations in the underlying action

potentially indicate that there is coverage. Waste Management, Inc., 579 N.E.2d at

333. Rather, a duty to indemnify is triggered “only when the insured becomes


                                          41
legally obligated to pay damages in the underlying action that gives rise to a claim

under the policy.” Id.

      In the instant action, Westchester admits pursuant to Local Rule 56.1 that the

Synthroid Litigation was initiated. ( WR BSF Par. 38, 43, 49). Westchester admits

that the payments made by Knoll in the litigation were settlement payments to

resolve the legal claims brought against Knoll. ( WR SF Par. 52). The decision to

settle the matter at a relatively early stage was a calculated decision by Knoll to

make a payment and to avoid further potential liability. The undisputed facts show

that Westchester chose not to participate in the Synthroid Litigation and therefore, it

cannot now complain about the actions of Knoll in settling the matter. Knoll agreed

to the preliminary settlement and, at that point, Knoll became legally obligated to

pay the amounts that Westchester acknowledges exceeded the Primary Policy limits.

Westchester therefore had a duty to indemnify Knoll. Accordingly, we deny

Westchester’s motion for summary judgment to the extent that Westchester seeks a

declaration that it owed no duty to indemnify Knoll. We also note that since

Westchester admits that it neither sought a judicial declaratory judgment indicating

that it owed no duty to indemnify Knoll nor indemnified Knoll under a reservation of

rights, Westchester is now estopped from disputing coverage in regard to its duty to

indemnify Knoll. Waste Management, Inc., 579 N.E.2d at 335(explaining that the

estoppel principle applies to duty to indemnify).




                                           42
      G. Reasonableness of Settlement

      Westchester argues that the settlement in the Synthroid Litigation was not

reasonable and that Knoll agreed to pay too much money to the plaintiffs in that

case. When an insurer refuses to defend an insured, an insured has a right to settle

the litigation. However, “the insured has a duty to settle reasonably and in good

faith and it bears the burden of proving that the amount of the settlement was

reasonable.” United States Gypsum Co. v. Admiral Ins. Co., 643 N.E.2d 1226, 1249-

50 (Ill. App. Ct. 1994)(stating that “[a] settling insured must show that it ‘was

responding to a reasonable anticipation of personal liability rather than acting as a

mere volunteer’”).

      In the Synthroid Litigation, the district court has already ruled that the

settlement was “fair, reasonable, and adequate.” In re Synthroid Mktg. Lit., 110

F.Supp.2d at 680-83. The court noted that “[i]f the plaintiffs won, as they might, the

defendants would face even more staggering liabilities than under this settlement

agreement.” Id. at 683. Thus, there has already been a judicial determination

regarding the reasonableness of the settlement and Westchester has not pointed to

sufficient evidence that shows that the court in the Synthroid Litigation made an

error in its finding. BASF has pointed to ample evidence that shows that Knoll faced

a massive damages award if the plaintiffs prevailed in the Synthroid Litigation and

that the settlement was reasonable. In addition, since Westchester wrongfully

refused to offer a defense to Knoll in the Synthroid Litigation, Westchester is

estopped from challenging the reasonableness of the settlement.

                                           43
      In summation, based upon all of the above, no reasonable trier of fact could

find other than that Westchester breached its duty to defend and indemnify Knoll.

Therefore, we grant BASF’s motion for summary judgment on the breach of contract

and indemnity claims brought against Westchester and deny Westchester’s motion

for summary judgment on the breach of contract and indemnity claims brought

against Westchester.




IV. Section 5/155 Claim Brought Against Westchester

      Both BASF and Westchester have moved for summary judgment on the

Section 5/155 claim brought against Westchester. BASF argues that Westchester

violated Section 5/155 which provides, in part, the following:

      In any action by or against a company wherein there is in issue the liability of
      a company on a policy or policies of insurance or the amount of the loss
      payable thereunder, or for an unreasonable delay in settling a claim, and it
      appears to the court that such action or delay is vexatious and unreasonable,
      the court may allow as part of the taxable costs in the action reasonable
      attorney fees, other costs . . . .

215 ILCS 5/155(1)(emphasis added). Although Section 5/155 provides for fees, the

Seventh Circuit has made it clear that attorney’s fees “may not be awarded simply

because an insurer takes an unsuccessful position in litigation” and can only be

awarded “where the evidence shows that the insurer's behavior was willful and

without reasonable cause.” Citizens First Nat. Bank of Princeton v. Cincinnati Ins.

Co., 200 F.3d 1102, 1110 (7 th Cir. 2000). An insurer is not deemed to have engaged


                                          44
in vexations and unreasonable conduct if: “(1) there is a bona fide dispute

concerning the scope and application of insurance coverage, . . . (2) the insurer

asserts a legitimate policy defense, . . . (3) the claim presents a genuine legal or

factual issue regarding coverage, . . . or (4) the insurer takes a reasonable legal

position on an unsettled issue of law.” Id.

      In the instant action, Westchester is not deemed liable under Section 5/155

simply because the evidence shows that Westchester wrongfully denied coverage to

Knoll. The undisputed facts show that Westchester believed that it had valid

arguments concerning the scope of the Westchester Policies’ coverage provisions

and in regard to various exclusions and conditions in the policies that potentially

could have precluded coverage, although its arguments were not meritorious. Even

though Westchester is estopped from denying coverage because Westchester did not

seek a judicial determination or defend Knoll under a reservation of rights, such

inaction by Westchester is not sufficient to show that it acted unreasonably or

vexatiously. BASF argues that since the court in the Primary Insurer Action found

that the Primary Insurers had wrongfully denied coverage, then Westchester should

have also known that it owed coverage to Knoll. BASF contends that Westchester’s

continued resistance to payment unreasonably forced BASF to incur additional costs

in bringing the instant action against Westchester. However, Westchester was not a

party in the Primary Insurer Action and although the Primary Policies had provisions

similar to the Westchester Policies, the policies were not exactly the same.

Westchester had taken a stand years ago in 1997 in refusing to provide coverage to

                                           45
BASF and there was nothing vexatious or unreasonable in Westchester’s refusal to

concede its liability after the ruling in the Primary Insurers Action or its request for

its day in court to defend its actions. Therefore, we conclude that based on the

undisputed evidence in this action, no reasonable trier of fact could find other than

that Westchester is not liable for fees and cost under Section 5/155. Therefore, we

grant Westchester’s motion for summary judgment on the Section 5/155 claim and

deny BASF’s motion for summary judgment on the Section 5/155 claim brought

against Westchester.




V. Breach of Contract and Indemnity Claims Brought Against Great American

      BASF and Great American have moved for summary judgment on the breach

of contract and indemnity claims brought against Great American. BASF argues that

Great American owed Knoll a duty to defend and indemnify Knoll because the

Synthroid Litigation arose out of a personal injury and an advertising injury. Great

American argues that the Synthroid Litigation did not involve a personal injury or an

advertising injury. Great American argues that Knoll did not notify Great American

in a timely manner of the Synthroid Litigation. Great American also argues that

coverage is excluded under certain provisions of the Great American Policy. Great

American also challenges that validity of the assignment from Knoll to BASF and

contests BASF’s standing in the instant action.




                                           46
      A. Whether Great American is Estopped From Disputing Coverage

      BASF argues that if Great American believed that the Synthroid Litigation

was not covered by the Great American Policy, then Great American was obligated

to either seek a judicial declaration of non-coverage or defend Knoll under a

reservation of rights. As is explained above, an insurer’s duty to defend an insured

is triggered “when, based on the pleadings, there is a claim that is potentially

covered by the insurance agreement.” Waste Management, Inc., 579 N.E.2d at 333.

As is explained in detail below, BASF has pointed to sufficient undisputed facts that

clearly show that Great American breached its obligation to provide coverage to

Knoll and offer a defense for Knoll. The estoppel of the insurer “arises at the

moment the insurance company wrongfully refuses to defend.” Maneikis, 655 F.2d

at 822. Great American admits pursuant to Local Rule 56.1 that it refused to provide

a defense to Knoll in the Synthroid Litigation. ( GR BSF Par. 38). Although Great

American argues that its refusal letters were couched in terms that invited additional

submissions of information by Knoll regarding the Synthroid Litigation, Great

American does not contest that it ultimately provided no defense to Knoll in the

Synthroid Litigation. (GR BSF Par. 87). Thus, Great American had an obligation

at that time, not to simply rest upon its denial, but to either provide coverage under a

reservation of rights or file a declaratory judgment action. Great American has not

pointed to any evidence that disputes the showing of the evidence by BASF that

Great American failed to take either of the above mentioned required actions.

Therefore, the undisputed evidence shows that Great American is estopped from

                                           47
arguing at this juncture that it owed no coverage to Knoll.




       B. Policy Coverage

       BASF argues that coverage of the Synthroid Litigation is provided in the

terms of the Great American Policy. Great American argues that the Synthroid

Litigation is beyond the scope of the coverage in the Great American Policy and that

certain provisions in the policy preclude coverage.




       1. Personal Injury and Advertising Injury

       Great American has not disputed the accuracy of the Great American Policy

that provided as an exhibit by BASF and thus we shall refer to the exhibit for the

provisions of the policy. The Great American Policy provides the following: “We

will pay those sums in excess of ‘underlying insurance’ or the retained limit that the

‘insured’ becomes legally obligated to pay as damages because of ‘injury’ caused by

an ‘occurrence’ to which this policy applies.” (BSJ Ex. J). Great American also

concedes that, as with the Westchester Policies, the Great American Policy covers a

“personal injury” and an “advertising injury.” ( GR BSF Par. 23). Great American

admits that the Great American Policy defined the term “Personal Injury” to include

an “injury, other than ‘bodily injury,’ arising out of . . .(4) Oral or written

publication of material that slanders or libels a person or organization or disparages a

person’s or organization’s goods, products or services . . . .” ( GR BSF Par. 24). In

                                            48
addition, Great American admits that the Great American Policy defined the term

“Advertising Injury” to include an “injury arising out of . . . (1) Oral or written

publication of material that slanders or libels a person or organization or disparages a

person’s or organization’s goods, products or services . . . .” ( GR BSF Par. 25).

      Great American argues that the Synthroid Litigation did not involve a

personal injury or an advertising injury. However, the language in the Great

American Policy regarding such injuries mirrors the language in the Westchester

Policies discussed above. For the same reasons discussed above, we conclude that

no reasonable trier of fact could conclude other than that the Synthroid Litigation did

involve a personal injury or advertising injury. Thus, no reasonable trier of fact

could conclude other than that Great American owed Knoll a duty to defend Knoll in

the Synthroid Litigation because the occurrence involved a personal injury or an

advertising injury.




      2. Exhaustion of Primary Policies

      BASF also argues that Great American owed a duty to defend Knoll under the

Great American Policy provision that referenced the exhaustion of the Primary

Policies (“Exhaustion Provision”). The Great American Policy provides that Great

American would provide coverage “[i]n the event of reduction or exhaustion of the

aggregate Limits of Insurance of ‘underlying insurance . . . .’” (BSJ Ex. J. 001347).

As is explained above in regard to the claims brought against Westchester, there is


                                           49
sufficient evidence that shows that the Primary Policies were exhausted. The

undisputed evidence, thus, clearly shows that Great American was obligated to

defend Knoll under the Exhaustion Provision.




      3. Cooperation Clause

      Great American argues that the Great American Policy contained a provision

(“Cooperation Clause”) that provided that Great American had the right to “associate

with” the insured “in the defense and control of any occurrence, claim, or ‘suit’ that

appears likely to involve” the Great American Policy. (GSJ 8). Great American

further contends that the Cooperation Clause provided that the insured’s primary

insurers and the insured would “cooperate with” Great American “in the defense of

such occurrence, claim, or ‘suit.’” (GSJ 8). Great American argues that it “was not

provided with the opportunity to pursue its own investigation and defense” and that

the defense by Knoll “resulted in an adverse settlement of over $100 million . . .

without Great American’s consent.” (GSJ 8).

      First, since there is sufficient evidence that Great American breached its duty

to defend Knoll, Great American is estopped from rasing exclusions to contest

coverage. Employers Ins. of Wausau, 708 N.E.2d at 1135. Second, Great American

admits pursuant to Local Rule 56.1 that its predecessor, Agricultural, was sent a

letter by Knoll on June 23, 1997, inviting Agricultural to participate in a meeting at

which the Knoll was going to discuss with its insurers the status of the Synthroid


                                          50
Litigation claims and the possibility of reaching a settlement with the plaintiffs in

that case. (GR BSF Par. 85). Great American also admits pursuant to Local Rule

56.1 that Brad Schuler attended a conference on July 8, 1997, regarding the

Synthroid Litigation for Boots’ insurers and that Brad Schuler was sent to the

meeting “on behalf of Great American.” (GR BSF Par. 86). Great American also

admits pursuant to Local Rule 56.1 that none of Knoll’s insurers, which included

Great American, provided Knoll with a defense in the Synthroid Litigation. ( GR

BSF Par. 38). Thus, the undisputed evidence indicates that Great American was

aware of the Synthroid Litigation and had an opportunity to participate in the

defense of Knoll, but that Great American refused to do so. Therefore, no

reasonable trier of fact could conclude that Knoll violated the Cooperation Clause.




      4. Assumption of Liability

      Great American argues that a provision of the Great American Policy

(“Assumption of Liability Provision”) provided that “[n]o ‘insured’ will, except at

their own, voluntarily make a payment, assume any obligation, or incur any expense

without our consent.” (GSJ 9). However, for the same reasons explained above in

regard to arguments made by Westchester, Great American is estopped from

pursuing such an argument. Also, as is indicated above, once an insurer wrongfully

refuses to defend an insured, the insured is permitted “to negotiate a reasonable

settlement.” Maneikis, 655 F.2d at 827. Thus, no reasonable trier of fact could



                                           51
conclude that coverage was excluded under the Assumption of Liability Provision.




      5. Prior Publication Exclusion

      Great American argues that the Great American Policy contained an exclusion

comparable to the Prior Publication Exclusions discussed above in the Westchester

Policies. For the same reasons discussed above, Great American is estopped from

pursuing such an argument. Therefore, no reasonable trier of fact could conclude that

coverage was precluded on the exclusion in the Great American Policy that was

comparable to the Prior Publication Exclusion in the Westchester Policies. Thus, as

discussed above, based on the undisputed evidence, no reasonable trier of fact could

conclude other than that BASF has met its burden in showing that Great American

owed an obligation to defend Knoll in the Synthroid Ligation.




      C. Standing, Policy Period, Allocation, and Indemnity

      Great American contests BASF’s standing in the instant action, arguing that

the assignment from Knoll to BASF was not valid. For the reasons discussed above

in regard to the claims brought against Westchester, we conclude that no reasonable

trier of fact could find other than that BASF has standing in the instant action. Great

American has offered no new arguments that alter the conclusion reached above by

the court.

      Great American also complains that the Synthroid Litigation is based upon

                                           52
conduct that occurred outside the policy period. However, as is indicated above in

regard to the Westchester Policies, there is sufficient conduct at issue that is within

the policy periods. Also, as is indicated above, to the extent that Great American is

seeking to limit damages, such an argument is premature at this juncture. Great

American also requests an allocation of the settlement. For the reasons discussed

above in regard to the claims brought against Westchester, the request for an

allocation involves damages and is premature at this juncture. We also note, as is

explained above in regard to the indemnity claim brought against Westchester, Great

American became obligated to indemnify Knoll when Knoll made the payments for

the preliminary settlement in the Synthroid Litigation.




      D. Late Notice

      Great American argues that Knoll failed to provide Great American with

timely notice of the Synthroid Litigation and the positions of Knoll’s insurers.

However, as is explained above, Great American is estopped from making such an

argument since the evidence shows that it breached its duty defend Knoll. Also,

Great American admits that it was invited to a meeting and a conference to discuss

such matters and the undisputed evidence clearly shows that Knoll provided Great

American with timely notice. Therefore, no reasonable trier of fact could conclude

that Great American was not provided with timely notice of the Synthroid Litigation

and the positions of Knoll’s insurers.


                                            53
      Thus, as discussed above, based on the undisputed evidence, no reasonable

trier of fact could conclude other than that BASF has met its burden of showing that

Great American breached its duty to defend and indemnify Knoll in the Synthroid

Litigation. Therefore, we grant BASF’s motion for summary judgment on the breach

of contract and indemnity claims brought against Great American and deny Great

American’s motion for summary judgment on the breach of contract and indemnity

claims brought against Great American.




VI. Section 5/155 Claim Brought Against Great American

      Both BASF and Great American have moved for summary judgment on the

Section 5/155 claim brought against Great American. In the instant action, similar to

our discussion in regard to the Section 5/155 claim brought against Westchester,

Great American is not deemed liable under Section 5/155 simply because the

evidence shows that Great American wrongfully denied coverage to Knoll. The

undisputed facts show that Great American believed that it had valid arguments

concerning the scope of the Great American Policy’s coverage provisions and in

regard to various exclusions and conditions in the policy that potentially could have

precluded coverage, although the arguments were not meritorious. There is

insufficient evidence pointed to by BASF that would enable BASF to prevail on its

Section 5/155 claim against Great American. Therefore, we grant Great American’s

motion for summary judgment on the Section 5/155 claim and deny BASF’s motion


                                          54
for summary judgment on the Section 5/155 claim brought against Great American.




VII. Breach of Contract and Indemnity Claims Brought Against Federal

      BASF argues that Federal was obligated to defend and indemnify Knoll in the

Synthroid Litigation under certain provisions in the Federal Policy. Federal argues

that the Synthroid Litigation was beyond the scope of coverage in the Federal Policy

and that coverage was precluded for a variety of other reasons.




      A. Whether Federal is Estopped From Disputing Coverage

      BASF argues that if Federal believed that the Synthroid Litigation was not

covered by the Federal Policy, then Federal was obligated to either seek a judicial

declaration of non-coverage or to defend Knoll under a reservation of rights. As is

explained above, an insurer’s duty to defend an insured is triggered “when, based on

the pleadings, there is a claim that is potentially covered by the insurance

agreement.” Waste Management, Inc., 579 N.E.2d at 333. As is explained below,

BASF has pointed to sufficient undisputed facts that clearly show that Federal

breached its obligation to provide coverage to Knoll and offer a defense for Knoll.

The estoppel of the insurer “arises at the moment the insurance company wrongfully

refuses to defend.” Maneikis, 655 F.2d at 822. Federal admits pursuant to Local

Rule 56.1 that it refused to provide a defense to Knoll in the Synthroid Litigation. (

FR BSF Par. 93). Although Federal argues that its refusal letter was couched in terms

                                           55
that invited additional submissions of information by Knoll regarding the Synthroid

Litigation, Federal does not contest that it ultimately provided no defense to Knoll in

the Synthroid Litigation. (FR BSF Par. 38). Thus, Federal had an obligation at that

time to not simply rest upon its denial, but to either provide coverage under a

reservation of rights or file a declaratory judgment action. Federal has not pointed to

any evidence that disputes the showing by BASF that Federal took neither of the

required actions. Therefore, the undisputed evidence shows that Federal is estopped

from arguing at this juncture that it owed no coverage to Knoll.




      B. Coverage Under Federal Policies

      Federal admits pursuant to Local Rule 56.1 that it issued a policy to Boots that

covered 1993-1994 (“1993-1994 Federal Policy”) and a policy that covered 1994-

1995 (“1994-1995 Federal Policy”). (FR BSF Par. 30-31). Federal does not dispute

that the copies of the Federal Policies that were included as exhibits to BASF’s

motion for summary judgment are accurate copies of the policies, and therefore we

shall refer to those exhibits. The 1993-1994 Federal Policy provides the following:

      1. We will assume charge of the settlement or defense of any claim or suit
      against the insured when:
      a. the Limits of Liability of the Scheduled Underlying Policies have been
      exhausted by payment of claims;
      b. damages are sought for bodily injury, property damage or advertising injury
      covered by this policy and to which no Underlying Insurance or other
      Insurance applies.



                                          56
(BSJ Ex. K). Federal admits pursuant to Local Rule 56.1 that the 1993-1994 Federal

Policy defined the term “personal injury” as an “injury, other than ‘bodily injury,’

arising out of one or more of the following offenses: . . . Oral or written publication

of material that slanders or libels a person or organization or disparages a person’s or

organization’s goods, products or services . . . .” (FR BSF Par. 32). The 1994-1995

Federal Policy provided coverage “when the applicable limit of underlying insurance

has been exhausted by payment of claims,” or when “damages are sought for bodily

injury, property damages, personal injury or advertising injury to which no

underlying insurance or other insurance applies.” (BSJ Ex. L. 001411).

Federal admits pursuant to Local Rule 56.1 that the 1994-1995 Federal Policy

defined the term “advertising injury” to include an “[o]ral or written publication of

material that slanders or libels a person or organization or disparages a person’s or

organization’s goods, products or services . . . .” (FR BSF Par. 31). Federal also

admits that the Coverage B Section of the 1994-1995 Federal Policy defines the term

“personal injury” as an “injury, other than ‘bodily injury,’ arising out of one or more

of the following offenses: . . . oral or written publication of material that slanders or

libels a person or organization . . . .” (FR BSF Par. 33).




      1. Bases For Coverage

      BASF argues that Federal owed BASF an obligation to defend Knoll because

the Synthroid Litigation arose out of a personal injury and an advertising injury.


                                            57
Federal argues that the Synthroid Litigation did not involve a personal injury or an

advertising injury. For the reasons explained above in regard to the other

Defendants’ policies, we conclude that there is sufficient evidence that shows that the

Synthroid Litigation did grow out of a personal injury or an advertising injury. This is

still true when we apply the evidence to the specific provisions of the Federal

Policies. In addition, the undisputed evidence clearly shows that Federal would be

bound by its promise in the 1993-1994 Federal Policy to provide coverage when the

Primary Policies were exhausted.




      2. Bases for Coverage Exclusion

      Federal argues that there are various bases for a preclusion of coverage in the

Federal Policies. Federal argues that there was a specific provision in the Federal

Policies that was comparable to the Prior Publication Exclusion mentioned above in

the Westchester Policies. For the same reasons explained above, Federal is estopped

from pursuing such a position. Federal also argues that a provision in the Federal

Policies required Knoll to give Federal timely notice of claims and that Knoll did not

do so. As is explained above, Federal is estopped from taking such a position since

the evidence shows that Federal breached its duty to defend Knoll. In addition,

Federal admits pursuant to Local Rule 56.1 that on June 23, 1997, Knoll wrote a

letter to Federal notifying Federal of the Synthroid Litigation. ( FR BSF Par. 90).

Federal contends that the letter only mentioned three specific cases, but regardless,



                                           58
Federal was put on notice of the Synthroid Litigation. ( FR BSF Par. 90). Federal

also admits that on June 23, 1997, another letter was written to Federal inviting

Federal to a meeting to discuss the Synthroid Litigation, the possibility of a

settlement, and the insurers’ position. ( FR BSF Par. 91). Thus, based on the

undisputed evidence, Federal clearly had timely notice of the Synthroid Litigation.

      Federal also argues that the settlement violated a provision in the Federal

Policies comparable to the Assumption of Liability Provision in the Great American

Policy. For the same reasons discussed above, as the evidence applies to Federal, the

undisputed evidence shows that Federal is estopped from taking such a position at

this juncture. Also, as is explained above in regard to the duty to indemnify for the

other Defendants, Federal clearly owed Knoll a duty to indemnify.




      C. Standing, Policy Periods, Allocation

      Federal argues, as the other Defendants have, that BASF lacks standing to

bring the instant action because the assignment from Knoll to BASF was invalid. For

all the reasons explained above, we conclude that there is sufficient evidence of

standing by BASF and Federal has not presented any new arguments that alter the

conclusion reached above by the court. Federal also contends that some of the

conduct that was a basis for the Synthroid Litigation was outside the Federal Policies’

coverage periods. To the extent that Federal seeks summary judgment on the issue of

liability, for the reasons explained above in regard to the other Defendants’ policies,


                                           59
we deny Federal’s motion for summary judgment. To the extent that Federal is

seeking to limit damages, the argument is premature. Federal also requests an

allocation of the settlement in the Synthroid Litigation, which also involves the

damages issue and is premature at this juncture. Therefore, we grant BASF’s motion

for summary judgment on the breach of contract and indemnity claims brought

against Federal and deny Federal’s motion for summary judgment on the breach of

contract and indemnity claims brought against Federal.




VIII. Section 5/155 Claim Brought Against Federal

      Both BASF and Federal have moved for summary judgment on the

Section 5/155 claim brought against Federal. In the instant action, similar to our

discussion in regard to Westchester and Great American, Federal is not deemed liable

under Section 5/155 simply because the evidence shows that Federal wrongfully

denied coverage to Knoll. The undisputed facts show that Federal believed that it

had valid arguments concerning the scope of the Federal Policies’ coverage

provisions and in regard to various exclusions and conditions in the policies that

potentially could have precluded coverage, although its arguments were not

meritorious. There is insufficient evidence pointed to by BASF that would enable

BASF to prevail on its Section 5/155 claim brought against Federal. Therefore, we

grant Federal’s motion for summary judgment on the Section 5/155 claim and deny

BASF’s motion for summary judgment on the Section 5/155 claim brought against


                                          60
Federal.




                                  CONCLUSION

      Based on the foregoing analysis, we grant BASF’s motion for summary

judgment on the breach of contract and indemnity claims against Westchester, Great

American, and Federal. We also deny the motions for summary judgment brought by

Westchester, Great American, and Federal on the breach of contract and indemnity

claims. We deny BASF’s motion for summary judgment on the Section 5/155 claims

against Westchester, Great American, and Federal (Count III). We also grant the

motions for summary judgment brought by Westchester, Great American, and Federal

on the Section 5/155 claims. We also grant in part and deny in part Defendants’

motion to strike BASF’s statement of material facts and deny BASF’s motion to

strike Defendants’ statement of material facts. Finally, we deny Defendants’ joint

motion to strike portions of BASF’s reply brief and deny Great American’s motion to

strike portions of BASF’s reply brief as moot.




                                       ___________________________________
                                       Samuel Der-Yeghiayan
                                       United States District Court Judge

Dated: May 8, 2006


                                          61
